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 1   Leila Nourani (SBN 146922)
     JACKSON LEWIS P.C.
 2   725 South Figueroa Street, Suite 2500
     Los Angeles, California 90017-5408
 3   Telephone: (213) 689-0404
     Facsimile: (213) 689-0430
 4   Leila.Nourani@jacksonlewis.com
 5   Stephanie Joy M. Tanada (SBN 257769)
     JACKSON LEWIS P.C.
 6   200 Spectrum Center Drive, Suite 500
     Irvine, California 92618
 7   Telephone: (949) 885-1360
     Facsimile: (949) 885-1380
 8   Stephanie.Tanada@jacksonlewis.com
 9
     Attorneys for Defendant
10   RENAL TREATMENT CENTERS – CALIFORNIA, INC.
     (erroneously sued and served herein as DAVITA, INC.)
11

12                              UNITED STATES DISTRICT COURT
13                             CENTRAL DISTRICT OF CALIFORNIA
14

15   PAUL BERTUMEN,                          CASE NO.: 5:22-cv-505
16               Plaintiffs,                 [Riverside County Superior Court Case No.
                                             CVRI2200594]
17         vs.
                                             DEFENDANT RENAL TREATMENT
18   DAVITA INC.; AND DOES 1-100,            CENTERS – CALIFORNIA, INC.’S
     INCLUSIVE,
19                                           NOTICE OF RELATED CASES IN
                                             SUPPORT OF REMOVAL OF ACTION
20               Defendants.                 TO THE UNITED STATES DISTRICT
21                                           COURT FOR THE CENTRAL
                                             DISTRICT OF CALIFORNIA
22                                           PURSUANT TO 28 U.S.C. §§ 1332, 1441,
23                                           AND 1446
24                                           [Filed concurrently with the Civil Cover
25                                           Sheet; Notice of Removal; Declarations in
                                             Support of Removal; Corporate Disclosure
26
                                             Statement; and Notice of Interested Parties]
27
                                             Complaint Filed: February 10, 2022
28                                           Trial Date:      Not Set

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                                                               DEFENDANT’S NOTICE OF
                                                                           REMOVAL
     Case 5:22-cv-00505-CJC-KK Document 8 Filed 03/22/22 Page 2 of 3 Page ID #:79


 1   TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
 2   CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION AND TO
 3   PLAINTIFF AND HIS ATTORNEYS OF RECORD:
 4         NOTICE IS HEREBY GIVEN, pursuant to Local Rule 83-1.3.1, that Defendant
 5   RENAL TREATMENT CENTERS – CALIFORNIA, INC. (“Defendant”) is unaware of
 6   any action previously filed or currently pending in the Central District of California that
 7   calls for determination of the same or substantially identical questions of law and fact
 8   and/or is likely for other reasons to entail substantial duplication of labor if heard by
 9   different judges.
10

11   Dated: March 22, 2022                        JACKSON LEWIS P.C.
12

13                                          By:   /s/ Stephanie J. Tanada          ______
                                                  Leila Nourani
14                                                Stephanie J. Tanada
15
                                                  Attorneys for Defendants
16                                                RENAL TREATMENT CENTERS –
                                                  CALIFORNIA, INC.
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                                                                     DEFENDANT’S NOTICE OF
                                                                                 REMOVAL
     Case 5:22-cv-00505-CJC-KK Document 8 Filed 03/22/22 Page 3 of 3 Page ID #:80


 1                                       PROOF OF SERVICE
 2   CASE NAME:             PAUL BERTUMEN v. RENAL TREATMENT CENTERS
 3   CASE NUMBER: 5:22-cv-505
 4          I am employed in the County of Orange, State of California. I am over the age of
     18 and not a party to the within action; my business address is: 200 Spectrum Center Drive,
 5
     Suite 500, Irvine, California 92618.
 6
              On March 22, 2022, I served the foregoing document described as:
 7
          DEFENDANT RENAL TREATMENT CENTERS – CALIFORNIA, INC.’S
 8    NOTICE OF RELATED CASES IN SUPPORT OF REMOVAL OF ACTION TO
 9   THE UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF
               CALIFORNIA PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446
10   in this action by transmitting a true copy thereof enclosed in a sealed envelope addressed
11   as follows:

12    Todd M. Friedman                                 Attorneys for Plaintiff
      Meghan E. George                                 Paul Bertumen
13
      LAW OFFICES OF TODD M.                           Tel: (877) 206-4741
14    FRIEDMAN, P.C.                                   Fax: (866) 633-0228
      21031 Ventura Blvd., Suite 340                   tfriedman@toddflaw.com
15
      Woodland Hills, CA 91364                         mgeorge@toddflaw.com
16

17

18   [X] BY E-MAIL OR ELECTRONIC TRANSMISSION - Based on a Court order or
         on an agreement by the parties to accept service by e-mail or electronic transmission,
19       I caused the document(s) described above to be sent from e-mail address
         carolina.rangel@jacksonlewis.com to the persons at the e-mail address listed above.
20       I did not receive, within a reasonable time after the transmission, any electronic
         message or other indication that the transmission was unsuccessful.
21
     [X]      FEDERAL - I declare under penalty of perjury under the laws of the State of
22            California and the United States that the foregoing is true and correct, and that I am
              employed in the office of a member of the bar of this Court at whose direction the
23            service was made.

24            Executed on March 22, 2022 at Irvine, California.

25
                                                            ________________________
26                                                          Carolina Rangel
     4885-8576-2838, v. 1
27

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                                             PROOF OF SERVICE
